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                 UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,

                      Plaintiff,
                                               Case No. 23-CR-235-GKF
  v.

  NICHOLAS LAWRENCE
  GUILFOYLE,

                     Defendant,



       Government’s Notice of Intent to Introduce Testimony Pursuant to Rule
              16(a)(1)(G) of the Federal Criminal Rules of Procedure

   The United States gives notice, pursuant to Federal Rule of Criminal Procedure

16(a)(1)(G), of its intent to introduce testimony at trial of expert witnesses who are

forensic chemists and/or Nexus Experts.

   Under Federal Rules of Evidence 702, 703, and 705, the witnesses will testify

consistent with reports of analysis and expert opinions from their examination of

evidence seized during the criminal investigation. The government has provided

reports to the defense through discovery.
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   The government requests discovery pursuant to Rule 16(b) and (b)(1)(C)(i). The

government reserves the right to supplement this notice as needed.



                                      Respectfully submitted,

                                      CLINTON J. JOHNSON
                                      UNITED STATES ATTORNEY

                                      /s/Joel-lyn McCormick
                                      JOEL-LYN A. McCORMICK, OBA #18240
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                             CERTIFICATE OF SERVICE

    I hereby certify that on the 5th day of October 2023, I electronically transmitted the
foregoing document to the Clerk of the Court using the ECF System for filing and emailed a
copy to the attorney for the defendant.

      Stephen Laymen
      Counsel for the Defendant
                                         /s/ Joel-lyn A. McCormick




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